Case 3:25-mj-00369-RFC Document1 Filed 01/28/25 Pagelof5

FILED

AO Si (Rev. 1111} Criminal Complaint I

UNITED STATES DisTRICT COURT ,,teenSus

for the Coy,
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Western District of Texas PUTY ey ERR
United States of America )
v. )
Juan LOPEZ , Xero: Ep - LA 4 4 {fl ( | (1)
Brandon GARCIA
)
_ _
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 26,2025 in the county of El Paso in the
Western District of Texas , the defendant(s) violated:
Code Section Offense Description
Title 18, United States Code, Knowingly making false statement in connection with purchase of a Firearm
Section 922(a)(6)

This criminal complaint is based on these facts:

See Attached Affidavit

# Continued on the attached sheet.

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Kelvyn Valdovinos, ATF Special Agent
a R, Crim. Pd. { a Printed nae and title

Sworn to before me and signed in my presence. 7?
Date: | 18 | 1015

Judge's signature

City and state: El Paso, TX - Robert F. Castaneda, U.S. Magistrate Judge

Printed name and title

Case 3:25-mj-00369-RFC Document1 Filed 01/28/25 Page 2of5

IDAVIT IN SUPPO C COM

Your affiant, Kelvyn Valdovinos, first being duly sworn, does hereby depose and state as follows:

Your affiant is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) and has been so employed since May 6, 2024. Your affiant has
received specialized training regarding the investigation and enforcement of Federal
Firearms violations and has conducted investigations regarding individuals involved
in illegal firearms activities. Prior to your affiant’s employment as an ATF Special
Agent, your affiant was a Border Patrol Agent with Customs and Border Protection
for almost four years, one of the years consisted of being a member of the El Centro
Border Patrol Sector Intelligence Unit, investigating various Federal and California
state violent crimes, along with extensive surveillance training. Your affiant has law
enforcement training and experience in firearm trafficking, drug trafficking, methods
of drug consumption, and methods of communications and slang used while
trafficking drugs and firearms. Your affiant makes this statement based on his own
investigation, records review, interviews with the suspect, and information provided
by other law enforcement officers to your affiant. Because this affidavit is submitted
for the limited purpose of securing an arrest warrant, it does not purport to contain
everything known to your affiant about this investigation.

Title 18, United States Code, Section 922(a){6) states it shall be unlawful for any person
in connection with the acquisition or attempted acquisition of any firearm or
ammunition from a licensed importer, licensed manufacturer, licensed dealer, or
licensed collector, knowingly to make any false or fictitious oral or written statement
or to furnish or exhibit any false, fictitious, or misrepresented identification, intended
or likely to deceive such importer, manufacturer, dealer, or collector with respect to
any fact material to the lawfulness of the sale or other disposition of such firearm or
ammunition under the provisions of this chapter.

A Firearm means any weapon “including a starter gun” which will, or is designed to,
or may be readily converter to expel a projectile by the action of an explosive. The
frame or receiver of any such weapon. Any firearm muffler or firearm silencer or any
destructive device. Ammunition includes ammunition, cartridge cases, primers, bullets,
or propellant powder designed for use in any firearm.

On January 25, 2025, your affiant, while working undercover at an E! Paso Gun Show
in the city and county of El Paso, located within the Western District of Texas, observed
Juan LOPEZ walk into the gun show accompanied by other suspects and, at the
direction of another person, purchase a Draco AK-~style pistol. LOPEZ left the gun
show and returned to buy two Glock pistols moments later.

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5. ATF agents and local and state law enforcement assigned to outside surveillance of the
gun show witnessed co-defendant Juan LOPEZ give Andy Daniel MADRIGAL
MONTENEGRO money after LOPEZ purchased the firearms.

6. LOPEZ was subsequently arrested by ATF agents and, during a custodial recorded
where LOPEZ was given his Miranda rights he admitted to being recruited by an
individual to purchase firearms at the gun show. LOPEZ admitted agreeing to do the
firearm purchases in exchange for $100.00 USC per firearm. LOPEZ admitted to
knowing the firearms were going to a third-party individual.

7. LOPEZ completed an ATF Form 4473 “Firearms Transaction Record”, in order to
purchase the firearms. LOPEZ answered “YES on the ATF Form 4473 Section
B.21.a, which states “Are you the actual transferee/buyer of all the firearm(s) listed
on this form and any continuation sheet(s) Warning: You are not the actual
transferee/buyer if you are acquiring any of the firearm(s) on behalf of another
person. If you are not the actual transferee/buyer, the licensee cannot transfer any of
the firearm(s) to you.” In Section B.22 LOPEZ signed his name attesting to the ATF
Form 4473 statement “I certify that my answers in Section B are true, correct, and
complete. I have read and understand the Notices, Instructions, and Definitions on
ATF Form 4473. I understand that answering “yes” to question 21.a. if I am not the
actual transferee/buyer is a crime punishable as a felony under Federal law and may
also violate State and/or local law. I understand that a person who answers “yes” to
any of the questions 21.b. through 21.1. as well as 21.n is prohibited from receiving,
possessing, or purchasing a firearm.”

8. Your affiant has consulted with an ATF Interstate Nexus Expert who has advised
your affiant that all firearms involved in this case have traveled in or affected
interstate and/or foreign commerce.

9. In light of the above, your affiant submits that probable cause exists to arrest Juan
LOPEZ for violations of Title 18, United States Code, Section 922(a)(6).
Case 3.25-m)-00369-RFC  Document1 Filed 01/28/25 Page 4 0f 5

IN SUPPORT PLAINT

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illegal firearms activities. Prior to your affiant’s employment as an ATF Special Agent,
your affiant was a Border Patrol Agent with Customs and Border Protection for almost
four years, one of the years consisted of being a member of the El Centro Border Patrol
Sector Intelligence Unit, investigating various Federal and California state violent
crimes, along with extensive surveillance training. Your affiant has law enforcement
training and experience in firearm trafficking, drug trafficking, methods of drug
consumption, and methods of communications and slang used while trafficking drugs
and firearms. Your affiant makes this statement based on his own investigation, records
review, interviews with the suspect, and information provided by other law
enforcement officers to your affiant. Because this affidavit is submitted for the limited
purpose of securing an arrest warrant, it does not purport to contain everything known
to your affiant about this investigation.

Title 18, United States Code, Section 922(a)(6) states it shall be unlawful for any
person in connection with the acquisition or attempted acquisition of any firearm or
ammunition from a licensed importer, licensed manufacturer, licensed dealer, or
licensed collector, knowingly to make any false or fictitious oral or written statement
or to furnish or exhibit any false, fictitious, or misrepresented identification, intended
or likely to deceive such importer, manufacturer, dealer, or collector with respect to
any fact material to the lawfulness of the sale or other disposition of such firearm or
ammunition under the provisions of this chapter.

A Firearm means any weapon “including a starter gun” which will, or is designed to,
or may be readily converter to expel a projectile by the action of an explosive. The
frame or receiver of any such weapon. Any firearm muffler or firearm silencer or any
destructive device. Ammunition includes ammunition, cartridge cases, primers, bullets,
or propellant powder designed for use in any firearm.

On January 25, 2025, your affiant, while working undercover at an El Paso Gun Show
in the city and county of EI Paso, located within the Western District of Texas, observed
Brandon GARCIA walk into the gun show accompanied by other defendants. At the
direction of a co-defendant who picked out the two rifles to buy, GARCIA proceeded
to fill out the ATF form 4473 paperwork and purchase the rifles.
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ATF agents and local and state law enforcement assigned to outside surveillance of the
gun show witnessed GARCIA place the purchased rifles into the vehicle of another
defendant before proceeding to walk away, enter his own vehicle, and leave the scene.

ATF agents subsequently arrested GARCIA. During a custodial recorded interview, he
admitted to being recruited by a co-defendant to purchase firearms at the gun show for
another person. GARCIA stated he agreed to make the firearm purchases in exchange
for $100.00 USD per firearm and acknowledged that he knew the firearms were
intended for a third-party individual.

GARCIA completed an ATF Form 4473 “Firearms Transaction Record”, in order to
purchase the firearms. GARCIA answered “YES on the ATF Form 4473 Section
B.2!.a, which states, “Are you the actual transferee/buyer of all the firearm(s) listed
on this form and any continuation sheet(s}) Warning: You are not the actual
transferee/buyer if you are acquiring any of the firearm(s) on behalf of another
person. If you are not the actual transferee/buyer, the licensee cannot transfer any of
the firearm(s) to you.” In Section B.22, GARCIA signed his name, attesting to the
ATF Form 4473 statement, “I certify that my answers in Section B are true, correct,
and complete. I have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. I understand that answering “yes” to question 21.a. if I am not
the actual transferee/buyer Is a crime punishable as a felony under Federal law and
may also violate State and/or local law. I understand that a person who answers “yes”
to any of the questions 21.b. through 21.1. as well as 21.n is prohibited from
receiving, possessing, or purchasing a firearm.”

Your affiant has consulted with an ATF Interstate Nexus Expert who has advised
your affiant that all firearms involved in this case have traveled in or affected
interstate and/or foreign commerce.

In light of the above, your affiant submits that probable cause exists to arrest Brandon
GARCIA for violations of Title 18, United States Code, Section 922(a)(6).
